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                                     Office of the Clerk
                    United States Court of Appeals for the Ninth Circuit
                                   Post Office Box 193939
                            San Francisco, California 9411 9-3939
                                        41 5-355-8000
Molly C. Dwyer
Clerk of Court                           December 09, 2019


       No.:         19-10435
       D.C. No. : 1: 17-cr-00 101-LEK-1
       Short Title: USA v. Anthony Williams


       Dear Appellant/Counsel

       A copy of your notice of appeal/petition has been received in the Clerk's office of
       the United States Court of Appeals for the Ninth Circuit. The U.S. Court of
       Appeals docket number shown above has been assigned to this case. You must
       indicate this Court of Appeals docket number whenever you communicate with
       this court regarding this case.

       Please furnish this docket number immediately to the court reporter if you place an
       order, or have placed an order, for portions of the trial transcripts. The court
       reporter will need this docket number when communicating with this court.

       Appellants who are filing pro se should refer to the accompanying
       information sheet regarding the filing of informal briefs.

       Failure of the appellant to comply with the time schedule order may result in
       dismissal of the appeal.

       Please read the enclosed materials carefully.




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